Case 2:16-CV-11698-GCS-RSW ECF No. 4-4 filed 05/13/16 Page|D.B? Page 1 of 48

EXHIBIT D

FEBRUARY 18, 2016 FREE PRESS LETTER IN
RESPONSE T() ORI()N TOWNSHIP DEMAND

Case 2:16-cV-11698-GCS- RSW ECF No. 4- 4 filed 05/13/16 Page|D.BS Page 2 of 48

Detrmt Free Press

A GANNETT COMPANY

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160 W.Fort Street,Detl'oit |\/|148226 | phone:313~749-9979 | fa)<:313-749-9989 | hfink@freepress.com

Hersche| Fink
l_ega| Counsel

February 18, 2016

Daniel J. Kelly, Esq.

Giarmarco, Mullins & Horton, P.C.
Tenth Floor Columbia Center

101 West Big Beaver Road

Troy, MI 48084-5280

Re.' Detroit Free Press Select Complaint/Orion
Township “Littering” Ordinance No. 136

Dear Mr. Kelly:

I am legal counsel at the Detroit Free Press, and this is in further response to your letter on
behalf of your client the Charter Township of Orion, dated February 4, 2016, which was addressed
generically to “The Detroit Free Press,” and was ultimately forwarded to me on February 16, 2016.
Your letter claims that the township has “received complaints from private property owners” about
“unrequested and undesired newspapers,” which you claim constitute “litter” under a township
ordinance, which you say defines litter as “rubbish, refuse, waste material, garbage, offal, paper,
glass, cans, bottles, trash, or other foreign substances or a vehicle that is considered abandoned
under Section 252a of the Michigan vehicle code, 1949 PA 300, MCL 257.252a.” Your letter
further threatens that if the Free Press continues to exercise its First Amendment protected
activities in Orion Township, “continued violation of this Ordinance may cause the issuance of a
civil infraction; which, if found responsible, could lead to a Court imposition of fines, penalties
and costs,” and that if “delivery of the above referenced newspaper/flyers” does not cease by
February 28, 2016, “similar activities Subsequent to this deadline will be turned over to the
Township’s Code Enforcement Officers for purposes of investigation and enforcement of
Ordinance No. 136-Littering Ordinance.”

The purpose of my response is two-fold: First, to explain why the delivery of newspapers
- even if unsolicited - does not constitute “litter,” and is a fully First Amendment protected
activity. Second, that township interference with the delivery by the Free Press of its newspapers
may constitute an unconstitutional prior restraint, which may open the township - and its elected
and appointed officials - to a civil rights lawsuit in U.S. District Court pursuant to 42 USC 1983,
entitling the Free Press to injunctive relief, damages and attorney fees. Because of the serious and
costly implications of such a lawsuit on the township, l am copying its elected officials so that they
are on notice of the consequences of the ill-advised action threatened in your letter, and can, in the
words of the U.S. Supreme Court, “steer far wide of the unlawful zone.” New York Tz`mes v.
Sullivan, 376 U.S. 254, 279 (1964).

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Newspapers Cannot Be Termed “Litter”: If you do not know, Free Press Sunday Select,
which l assume is the subject of your letter, is a weekly free publication containing both editorial
matter and advertising from the daily newspaper Without question, it is First Amendment
protected expressive material, and cannot be banned or enjoined from distribution by government

Of course, the Free Press does not want the added expense of sending newspapers to those
who don’t wish to receive them, and so we take steps to be certain that we only deliver to those
who have indicated a desire to receive them. We also respond to individual requests from readers
who no longer wish to receive papers. What we do not do is allow others, such as an association,
or certainly, as in this case, a governmental body to dictate a blanket demand to stop distribution
to thousands of families, most of whom do wish to receive them.

lt is also self-evident that government may not interfere with, nor penalize, the dissemination
of constitutionally protected, expressive material by labeling it “litter” or “trash.” lt is also self-
evident that the Free Press edition in question is such constitutionally protected expression Because
it contains both news and information drawn from the Free Press, as well as advertising, it must be
categorized as non-commercial speech, entitled to the full protection of the First and Fourteenth
Amendments to the United States Constitution, as well as art 1, sec 5 of the 1963 Michigan
Constitution. See Edenfield v. Fane, 123 L, Ed. 2d 543, U.S. , 113 S.Ct. 1792, 1798 (1993),' Ad
World, lnc. v. Township of Doyleston, 672 F.Zd 1136, 1139-40 (S’d Cz`r. 1982). Also, see
Organizationfor a BetterAustin v. Keefe, 402 U.S. 415 (1971).

Although there appears to be no Michigan appellate decision on point with the facts of the
“complaints” cited in your letter - perhaps because it is so self-evident -- the issue has been decided
on virtually identical facts and law in other jurisdictions A leading decision is by the Supreme Court
of Wyoming in Miller v. Cily ofLaramie, 880 P. 2d 594 (1994 Wyo.).

ln Aliller, the Court described the defendant as “the publisher of a free weekly newspaper.
Most of the copies of the newspaper were delivered door to door by depositing the paper on the
porches of residences and buildings In some instances, the papers came to be on the lawns, driveways
or sidewalks of local residences Defendant did not solicit subscriptions nor did he seek the consent
of residents before making delivery. Defendant was convicted of violating a city litter ordinance and
fined $210 by the municipal court.” id at 5 94. The Wyoming Supreme Court reversed the conviction,
finding that application of the litter ordnance to the distribution of a newspaper violated the
defendant’s right to free speech under both the federal and state constitutions

The Court continued that, “We hold that the record here readily demonstrates that The Adviser
burdened the City of Laramie in an extraordinarily minor way and that, likewise, the burden placed
on the citizens of Laramie and private property in that city was exceedingly trivial. We are confident
that the vast majority of citizens will agree that such insignificant and slight burdens are a Small price
to pay for a free society - and then hasten to add that even a solid majority may not extend its
prohibitions in such a manner as to violate the United States or the Wyoming Constitutions.
Therefore, We reverse.” Id at 595, emphasis added

The Court also observed that, even though it had decided the case on Constitutional grounds,
the definition of “litter” in the Laramie ordinance - almost identical to the Orion Township ordinance
you quote in your letter - simply could not apply to a newspaper containing a varied content of

 

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information and advertising (“We also suggest that the Laramie ordinance, on its face, demonstrates
a legislative intent that a newspaper like The Adviser is not litter, litter being defined as ‘trash, debris,
rubbish, refuse, garbage or junk.’ But that is unnecessary to our decision here.” 1d at 598. A
concurring opinion was based upon the same conclusion that the definition of “litter” in the ordinance
“clearly describes anything which has been discarded as being of no value. There is a total lack of
proof that The Adviser had been discarded as being of no value. The proof was to the contrary.” Id at
599. A copy of the Miller opinion is attached

Township Inte)ference Would Be Unconstitutional: As a lawyer who has represented news
organizations and others in the defense of First Amendment rights for over four decades, you can
safely assume that there are few free speech issues that l haven’t encountered One case that seems
instructive and directly on point involved my representation of rap music icon Dr. Dre (Andre Young),
whose back-to-back 2000 concerts in Detroit and Auburn Hills were interfered with by officials and
police, who claimed that the concerts were obscene, and might inspire violence.

Within hours following Detroit Police censorship of the Detroit concert, l went into federal
court to seek an injunction against any similar interference by Auburn Hills that night. You may find
U.S. District Judge Nancy Edmunds’ attached Order Granting Preliminary lnjunction and bench
opinion instructive Judge Edmunds found that interference with a concert performance, which
Auburn Hills officials had argued would be obscene, and might inspire violence, was a “prior
restraint” on protected speech. ln fact, she heldt “It’s nothing but, it’s nothing but the most blatant
violation of the First Amendment. . ..” (Bench Opinion, p. 22) If such a performance was found to be
protected expression, consider what a federal court might say about Orion Township’s threatened
interference with delivery of newspapers

Not only did l obtain the immediate preliminary injunction against Auburn Hills interfering
with that night’s concert, but because Auburn Hills went ahead and ticketed Dr. Dre after his
performance, l filed separate civil rights lawsuits pursuant to 42 USC 1983 against both Auburn Hills
and the City of Detroit for its earlier interference l am also attaching just a few pages from the Detroit
complaint (I can’t immediately locate the Auburn Hills one) to give you a flavor of where this present
matter might go, should Orion Township follow through on the threat you made in your letter. Both
suits were very quickly settled for public apologies, First Amendment “sensitivity training” for city
officials, and $50,000 in attorney fees (at 2000 billing rates). l chose not to seek damages that time.

Please know that the Free Press is not looking for a battle over its right to continue distributing
its protected news products in Orion Township. At the same time, we are fully prepared to take all
necessary legal action to do so. Should you have any questions about this, feel free to contact me.

    

Herschel P. Fink
Legal Counsel
Detroit Free Press, Inc.

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9 Positive
As Of: January 29, 2015 3:51 PM EST

Miller v. Citv of Laramie
Supreme Court of Wyoming
September 7, 1994, Decided

No. 93-182

Reporter
880 P.Zd 594; 1994 Wyo. LEXIS 99; 22 Media L. Rep. 2302

GERALD R. MILLER, Petitioner, v. THE CI'I`Y OF
LARAM[E, Respondent.

Case Surnmary

 

Procedural Posture

Defendant sought review of a decision of the district court
(Wyoming), which upheld a decision of the municipal court
convicting defendant of the crime of littering in violation of
a city ordinance for distributing his free newspaper by
house-to-house delivery.

Overview

Defendant was the publisher of a free weekly newspaper
Most of the copies of the newspaper were delivered door to
door by depositing the paper on the porches of residences
and buildings In some instances, the papers came to be on
the lawns, driveways or sidewalks of local residences
Defendant did not solicit subscriptions nor did he seek the
consent of residents before making delivery. Defendant was
convicted of violating a city litter ordinance and fined $ 210
by the municipal court. The district court upheld the
conviction The court reversed defendant’s conviction and
found that the application of the litter ordinance to prevent
defendant from distributing his newspaper violated
defendant’s right to free speech. The court found that that
the city failed to carry its burden of proving that application
of the litter ordinance in this way was a proper time, place,
and manner restriction on defendant’s right to free speech.
The court also found that any burden imposed upon the city
in cleaning and caring for the streets as an indirect
consequence of defendant’s distribution of his newspaper
resulted from the constitutional protection of the freedom of
speech and press.

Outcome

The court reversed defendant’s conviction for littering and
remanded to the district court with directions that the district

court further remand to the municipal court for vacation of
the convictions and dismissal of the littering charges

Counsel: ["t*t] Representing Petitioner: Christopher H.
Hawks, Director, Lawyers and Advocates for Wyoming,

Jackson, WY.

Representing Respondent: Douglas K. Bryant of Corthell &

' King, Laramie, WY.

Judges: Before GOLDEN, C.J., and THOMAS, CARDINE
* , MACY, and TAYLOR, .U. CARDINE, J., Ret., delivered
the opinion of the court. MACY, J., filed an opinion
specially concurring GOLDEN, C.J., filed a dissenting
opinion.

Opinion by: CARDINE

Opinion

 

[*595] Original Proceeding

Petition for Writ of Review
CARDINE, Justice, Retired.

We granted a petition for review to consider Gerald R.
Miller’s claim that his right of free speech, as guaranteed by
Art. 1 . 6 20 of the l/Vvomin£ Corlstilution and the EiLs_t
Amendment to the United States Constitution was abridged
by the City of Laramie’s littering ordinance Petitioner
Miller was convicted of the crime of littering for distributing
his free newspaper, The Adviser, by house-to-house delivery

We hold that the record here readily demonstrates that The
Adviser burdened the City of Laramie in an extraordinarin
minor way and that, likewise, the burden placed on the
citizens of Laramie and private property in that city was
exceedingly trivial. We are confident [’-‘*2] that the vast

 

Retired July 6, 1994.

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majority of citizens will agree that such insignificant and
slight burdens are a small price to pay for a free society --
and then hasten to add that even a solid majority may not
extend its prohibitions in such a manner as to violate the
United States or the Wyoming Constitutions. Therefore,

We reverse.

Miller articulates these grounds for appellate review:

A. The Petitioner’s actions and conduct in causing
copies of ”The Adviser" to be placed on the front
porches, in the yards and on the grounds of the
homes of several Laramie residents is conduct
entitled to protection under the First Amendment
of the United States Constitution and Article One
Section 20 of the Wyoming Constitution.

(i) The City of Laramie’s interest in
preventing the visual blight caused by the
unrequested door-to-door distribution of
the Petitioner’s free weekly newspaper
does not outweigh the defendant’s
fundamental rights of free speech, press
and circulation

B. Prosecuting Mr. Miller for littering is not a
reasonable time, place and manner restriction on
Mr. Miller’s conduct because Mr. Miller did not
exercise his right of free speech in a public forum.

(i) The District Court’s [*'“"3] reliance on
Sch.enck v. The United State.s‘ /249 U.S.
47, 39 S.Ct. 247, 63 L. Ed. 470 (19].9)7 to
affirm the decision of the Municipal
Court’s conviction of Mr. Miller was a
misapplication of the law and should be
disregarded

C. Prosecuting the publisher of a free weekly
newspaper for litten`ng violates his rights of equal
protection when his paper is delivered consistent
with other area papers with the exception that it is
done so without subscription

The City of Laramie abbreviates the controversy with this
contention:

Whether application of the City of Laramie’s l_ige[
ordinance to the unrequested placement of copies
of T he Adviser upon private residential properties
violates the [Petitioner’s] constitutional rights as to
speech and press.

The First Amendment of the United States Constitution

provides:

Congress shall make no law respecting an
establishment of religion, or prohibiting the free
exercise thereof; or abridging the freedom of
speech, or of the press; or the right of the people
peaceably to assemble, and to petition the
Government for a redress of grievances

Article 1, 6 20 of the l'l}vomin,e l‘f‘"'r'=il Constitution provides:

[*596] Every person may freely speak, write and
publish on all subjects, being responsible for the
abuse of that right; and in all trials for libel, both
civil and criminal, the truth, when published with
good intent and [for] justifiable ends, shall be a
sufficient defense, the jury having the right to
determine the facts and the law, under direction of
the court.

The City of Laramie Municipal Ordinance § 8.20.030
provides:

lt is unlawful for any person to throw, discard,
place or deposit, or cause to be thrown, discarded,
placed or deposited, litter in any manner or amount
on any public or private property within the
corporate limits of the city except in containers or
areas lawfully provided therefor

And Ordinance § 8.20.010(A) defining litter provides:

A. ”Litter” is any quantity of uncontainerized
paper, metal, plastic, glass, animal feces, or
miscellaneous solid waste which may be classed as
trash, debris, rubbish, refuse, garbage or junk.

Miller distributed a free weekly newspaper, The Advise); in
Laramie. Approximately 6,000 copies of the newspaper
were delivered door to door by depositing the paper on the
porches of residences and buildings l*’~’~$] In some
instances, the papers came to be on the lawns, driveways or
sidewalks of Laramie residences An additional 1,000 copies
were distributed by other means such as news racks. Miller
did not solicit subscriptions nor did he seek the consent of
residents before making delivery. The Adviser contained
community news; sources of free information on such
things as recipes, voice programming, parenting, and
healthful sleep; sports stories; television programming for
the coming week; a crossword puzzle; horoscope column;
gossip column; a children’s page; Want adds; and numerous
advertisements

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880 P.2d 594, *596; 1994 Wyo. LEXIS 99, “*5

Our recital of facts herein is from the exhibits stipulated
statement of evidence by the parties, and the record in this
case. The audiotape transcript of testimony was erased by
the clerk of the municipal court after the record was
returned following appeal to the district court. The erasure
occurred during the appeal process Our choices at this point
are to reverse and remand for new trial for lack of a record,
through no fault of petitioner, or decide this appeal on the
record before us We think the exhibits admissions,
stipulation of the parties and record are sufficient for our
decision [**6`] in this appeal.

By information filed on February 1, 1993, Miller was
charged with seven counts of littering based upon complaints
made by seven Laramie residents The complaints were
tried before a municipal judge on March 22, 1993. Miller
was found guilty on four counts and not guilty on one count
(apparently because the testimony of that witness was to the
effect that the paper was found on his porch; all others
testified that the papers were found on their sidewalks
driveways or in their yards). The complaints which alleged
littering on the same day were consolidated resulting in the
disposition of the other two counts Miller was fined $ 50.00
per count and assessed $ 10.00 costs, for a total fine of $
210.00.

A timely notice of appeal was filed, and the convictions
were reviewed by the district court. Miller’s only defense
throughout trial, on appeal, and in this petition for Writ of
review is that the littering statute, as applied to the delivery
of his newspaper, was a violation of his constitutional right
of free speech and equal protection The district court
affirmed the convictions finding that the restrictions created
by the littering ordinance were reasonable time, [**7] place
and manner restrictions on the right of free speech.

Miller’s petition for writ of review in this court was granted
September 29, 1993. The parties have agreed that the
newspaper in question contained news, advertising and
other information; and no question is directly posed as to
whether it was commercial or noncommercial speech. lt is
a necessary first step in our analysis however, to expressly
acknowledge that, because of its varied content, the
newspaper must be categorized as noncommercial. See A_d
World. lnc‘. v. 'H)wnshii) of Dovlestown, 672 FZd 1136.
1139-40 (_irtl Cir 19821. Because it is noncommercial
speech, it is entitled to the full protection of the B);._v; and

i_*597] Foun‘eenth Amendments of the United States
Constitution, as well as A)'t. l. \\' 20 of the Ww)mi)w
Conslilution. See Edentield v. Fane. 123 L-. Ed. 2d 543.

U.S. , 113 S.Ct. 1792. 1798 (1993); Ac! Wor/a', 672 F.ch
ar 1140. Purely commercial speech is tested against a more
relaxed standard Edenfield.

 

Miller has maintained from the beginning that the Laramie
ordinance was unconstitutional as applied l***S] to the
distribution of his newspaper. The general rule is that one
who alleges unconstitutionality bears a heavy burden and
must clearly and exactly show the unconstitutionality beyond
any reasonable doubt. Paa/in£ v. Pazilinv. 837 P.Zd 1073,
1076 {W\-o. 1.992l. However, that rule does not apply where
a citizen’s fundamental constitutional right, such as free
speech, is involved The strong presumptions in favor of
constitutionality are inverted, the burden then is on the
governmental entity to justify the validity of the ordinance,
and this Court has a duty to declare legislative enactments
invalid if they transgress that constitutional provision See
Wlt".enl)m'ver v. State ex rel. Wvominv Com/)iz¢niiv Dev.
Aiit/i., 575 P.Za' 1100. 1114 tl-Vvo. 1978). reh’g denied 5_71
P.Zd 1_?86. The rule we apply under the circumstances of
this case is:

Where rights privileges and immunities of the
citizen are involved the usual strong presumption
in favor of constitutionality does not apply, and this
rule is applicable to First Amendment rights This
is true in situations involving the right of freedom
of expression l`,"=*9] or thought, or of speech, or
association, or of the press, or of religion. Under
some authority, the usual presumption in favor of
constitutionality is merely weaker where the statute
arguably inhibits fundamental rights

lndeed, it is the rule that where the governmental
action impinges on a fundamental constitutional
right the usual presumption is inverted, and the
presumption, sometimes characterized as heavy, is
against the constitutionality of a statute or
governmental action involving a right explicitly or
implicitly secured by the Constitution, including a
right secured by the First Amendment, such as
freedom of speech or expression Moreover, every
reasonable presumption against waiver of
fundamental constitutional rights is indulged by
the courts and they do not presume acquiescence in
die loss of fundamental rights In view of the
inversion of the usual presumption of
constitutionality the burden is on the state of
justifying the validity of the statute or other
governmental action, as by a demonstration that
the statute serves a compelling governmental
interest

(footnotes ornitted) 16 C.J.S. Constitutional Law, § 106a
(1984); and see Parrish v. Lamm. 758 P.Zd 1356 (Colo.
19881; [**`10] l/i]la£e of Hofi‘inan Estates v. Flir)sicie.

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Hofi‘i'nan E.s‘tarc/s. Im:.. 455 U.S. 489. 102 S.Ct. 1186`. 71 L.
Ed. 2d 362 (] 982}; Pa/)achr£str)u \". Cirv ofjacksorlville, 405
U.S. 156. 92 S.Ct. 839. 31 L. Ed. 2d 110 (1972): Gmwle.¢l \>.
Cizv ofRockfolzz'. 408 U.S. 104, 92 S.Cr. 2294, 33 L. Ed. 2d
222 (]9721. Thus, we are duty bound to strictly scrutinize
the ordinance in the light of the preeminent role played by
the First Amendment in our free society.

The City of Laramie directs our attention to the fact that its
littering ordinance prohibits all littering, Without regard to
whether it is commercial or noncommercial, and without
regard to whether it relates to matters of politics, religion or
whatever In other words, not only does the ordinance affect
(prohibit) the delivery of The Advise); but it also prohibits
the depositing of litter which contains a religious, political,
or any other sort of message Thus, the question posed boils
down to whether Laramie may place a complete ban on
speech, a form of prior restraint, l**ll] if that speech is in
a form which may eventually be viewed as litter.

The record from the trial in Laramie Municipal Court does
not sustain Laramie’s argument that the ordinance is merely
a ban on litter in any form which, therefore, easily passes
constitutional muster. The City of Laramie had an onerous
burden of demonstrating clearly and precisely that the
ordinance is, in fact, applied in a nondiscriminatory manner.
From this record, we discern that based on a mere handful
(perhaps not more than a dozen out of some 7,000 papers
distributed weeldy) of citizen complaints that [*598] the
newspaper was found in their yards, Miller was prosecuted
for littering. There was no evidence adduced by Laramie
that the ordinance is generally enforced, or at least often
enforced, The record makes no suggestion that the ordinance
is generally enforced against those who "litter” in a more
traditional sense of that ”crime” (see W.S. 6-5-204 (1988)).
Moreover, the proof of littering in this instance was based
solely upon rather gossamer circumstances, e.g., that the
newspaper was found in the yard (was it placed there by
Miller, or did it blow there, or did a dog drag it there, etc.);
that it was found l*°`»‘lZ] on the sidewalk (again without any
demonstration of how it arrived at that location ~- might a
disgruntled citizen carry it to the street and deposit it there
and assert that the publisher is consequently responsible? ~-
ls this publisher any more responsible for where his
newspaper was found than is a fast food restaurant for waste
products that bear its logo?). As noted above, the burden
must fall on Laramie to demonstrate that the restrictions
imposed on speech by its littering ordinance are narrowly
tailored to achieve the goal of reducing litter and that any
time, place and manner restrictions that might affect Miller
and those similarly situated are guardedly balanced in a
constitutional sense.

Counsel for the City of Laramie maintain that Miller should
not be entitled to have his acts of littering be regarded as
protected speech. Quite the contrary is the case: Miller is
entitled to have his right of free speech not curtailed by an
ordinance designed solely to prevent littering:

We are of [the] opinion that the purpose to keep the
streets clean and of good appearance is insufficient
to justify an ordinance which prohibits a person
rightfully on a public street from handing lt**l?>l
literature to one willing to receive it. Any burden
imposed upon the city authorities in cleaning and
caring for the streets as an indirect consequence of
such distribution results from the constitutional
protection of the freedom of speech and press.

Sclzl')eider v. New Jers@v, 308 U.S. 147. 162, 60 S.Cl. [4@
151. 84 L. Ed. 155 (19392; and see McQuillin Mun. Corp. §
24.389 (3rd ed. 1989). In this case, though clear proof is
absent, it would appear from the few complaints that 6,990
persons may have been willing to receive The Adviser

The parties had stipulated that the Laramie policeman
testified that petitioner’s newspaper, as it lay before him in
the courtroom, was not liner. Apparently, according to
Laramie, it became litter when it was found on the sidewalk
and petitioner was then guilty of a crime without any proof
that petitioner was responsible for the newspaper being on
the sidewalk ~- surely a questionable result We also suggest
that the Laramie ordinance, on its face, demonstrates a
legislative intent that a newspaper like The Adviser is not
litter, litter being defined as ”trash, debris, rubbish, [**'14]

refuse, garbage or junk.” But that is unnecessary to our
decision here.

We hold that Laramie may not ban all distribution of
noncommercial speech materials which it views as litter
under its wide~sweeping ordinance It may place reasonable
restrictions on such distributions so long as they do not have
the effect of squelching legitimate speech which is protected
by the constitution and so long as Laramie can demonstrate
that other substantial means of communicating such speech
are meaningfully available, including economic feasibility
See e.g., Disfri[)ntion Svs)‘em.s' t)l'"America. lnc. v. Villa,<:/e of
Old Wesrl)m~v. 785 ESuz)l). 347 (E.D.N.Y. 1992}; Project
80’s, lnc. v. Cit\-' c)f`Pocal'el/o, 942 F.Zd 635 (.9!11 Ci): 19_9]).
Balancing the constitutional right of free speech with the
evidence adduced by Laramie to sustain the validity of its
ordinance, we find that the minor burden of receiving
Miller’s paper was indisputedly outweighed by his right of
free speech and that the justification for restrictions upon
distribution (finding a few papers in a driveway, on a

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sidewalk or street) which resulted in violation of the
ordinance were [**15] not reasonable

We hold that the ordinance, as applied to Miller, violated
constitutional guarantees Hence, we remand with directions
that the district court further remand to the municipal court
for vacation of the convictions and dismissal of the littering
charges

Reversed and remanded with directions that the convictions
for littering be vacated [*599_'] and that the charges against
Miller be dismissed

Concur by: MACY

Concur

 

MACY, Justice, specially concurring

l concur in the result reached by the majority but for a
different reason If it were not necessary to dance through
the ”litter” of cases in deciding whether the ordinance is or
is not constitutional, I would join in the dissent of Chief
Jusn`ce Golden. I do not, however, think that it is necessary
to invoke the Constitution to decide this case. Pi.rano i=.
S}zillz'/zeer. 835 P.Zd 1136. 1138 (W\»'r). 1992); Wheeler v.
Par/cer Dril[in.v Comntmv, 803 P.Zd 1379. 1383 11.1 (W\v.).
/_9_2./1-

The ordinance in question states that litter includes
uncontainerized paper which may be classified as being
trash, debris, rubbish, refuse, garbage, or junk. Those words
clearly describe anything which has been discarded [**16]
as being of no value. There is a total lack of proof that The
Adviser had been discarded as being of no value. The proof
was to the contrary.

Dissent by: GOLDEN

Dissent

 

GOLDEN, Justice, dissenting

As indicated by this court’s previous freedom of speech and
press decisions, there can be little doubt of our relentless
concern to avoid abridgments to freedom of expression But
this trivial city ordinance hardly qualifies as a menace to
those revered freedoms It neither suppresses content nor
prohibits distribution and, as applied by the trial court,

cannot even be said to prohibit THE ADVISOR from being
distributed door to door except when that distribution is so
careless as to be littering. Such innocuous regulation of
littering is not a speech or press violation and I must dissent

The record is clear that Laramie punished Mr. Miller for
those distributions of his newspaper that were carelessly
strewn about neighborhoods 1 The record is also clear that
Mr. Miller was acquitted in those instances where the
newspaper was placed on the porch of the household This
distinction indicates that, as the record stands, Laramie is
neither making a content-based determination of what
newspapers shall or shall [**17] not be distributed nor
unreasonably restricting distribution, but is controlling ”litter.

Appellant contends that the constitutional violations occur
when the ordinance is applied to his newspaper distribution
and sweepineg states that every law which impinges on
free expression is to be strictly scrutinized In other words,
any limitation on freedom of expression is unconstitutional;
quite candidly, this is a banal argument routinely rejected by
the United States Supreme Court since the 1943 case of
Martin v. Struthers, when it recognized that ”the peace,
good order and comfort of the community may imperatively
require regulation of the time, place and manner of
distribution.” Martin. 319 U.S. 141. 1451 65 S. Ct. 862. 863,
87 L. Ed. 1313. (19431. Appellant attempts to assert the
ordinance violates WYO. CONSI/". art /. § ZO, but finds it of
such insignificance that his only reference to the provision
is as ”passim” in his table of contents Accordingly, appellant
provides no analysis, authority, or cogent argument
concerning the state constitutional provision’s application to
the issues. Instead, appellant [**18] relies on federal case
law and does not distinguish between the two provisions of
the two constitutions

This court has previously admonished Wyoming lawyers
that it is imperative they properly brief this court on relevant
state constitutional questions Dworkin v. L.F.P. Inc. 839
P.2d 903, 909 1Wvo. 19921. '”I`o develop and prove [his]
position with respect to the state constitutional provision,
[Miller], and any other similarly situated litigant, must use
’a precise, analytically sound approach.’ Counsel must
provide this court with proper arguments and briefs to
ensure the future growth of this important area of law.”
Dworkin 839 P.Zd at 909 (quoting Robert P. Utter, Advancz`ng
State Conszitutions in Court, TRIAL, Oct. l99l, at 45).
”Recourse to the Wyoming Constitution as an independent
source for recongng and protecting the individual rights
of our citizens 1*6001 must spring from a process that is

 

 

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The newspapers were found in yards, driveways, snowdrifts, the street, and a window well.

 

 

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880 P.zd 594, *600; 1994 wyo. LExIs 99, sells

articulable, reasonable, and reasoned.” Saldmza \-. Stme. 846
P.Zd 60-'1. 621 (Wyo. 1993) (quoting Stare \=. Gtmwall 106
Wash. 2d 54, 720 P.Zd 808 813 1Was1t 1986)) [**19`1
(Golden, J., concurring). Appellant’s failure to properly
brief the state constitutional arguments limits our review to
his federal constitutional arguments

 

The United States Supreme Court’s modern day
jurisprudence requires that in noncommercial speech cases:

The normal inquiry that our doctrine dictates is,
first, to determine whether a regulation is
content-based or content-neutral, and then based
on the answer to that question, to apply the proper
level of scrutiny.

I_udue v. Gilleo. U.S. . 114 S. Ct. 2038. 2047, 129 L.
Ed.Ztl 36z 50 11994l (O’Connor, J., concurring).

If a regulation is content-neutral, the United States Supreme
Court has upheld reasonable ”time, place, or manner”
restrictions when justified without reference to the content
of speech. Warr! v. Rr)c~/<Ar’airtsf Ra¢;'i.s'm, 491 U.S. 781. 791 ,
109 S. Ct. 2746. 2753, 105 L. Ed.211661. 675 (1989): l**?.f)]
Martin, 319 U.S. at 143, 63 S. Ct. at 863, 87 L. Ed. at ___.

Although THE ADVISOR is primarily comprised of
commercial speech, I agree with the majority’s initial
classification of THE ADVISOR as noncommercial speech
and concur that it is entitled to full first amendment
protection See Central Hudson Gas & Elec. Corp. v. Pub.
Serv. Comm’n ofN.K, 447 U.S. 557, 100 S. Ct. 2343. 65 L.
Ed.Zd 341 (19801. Although the majority makes no
determination of the ordinance’s effect upon free speech,
that is, whether it is content-based or content-neutral, the
language and level of scrutiny employed forces an
assumption that the majority must have concluded it is a
content-based regulation I find no basis for such a
conclusion

I am of the opinion that the ordinance is constitutionally
valid as a reasonable, time, place and manner regulation
The United States Supreme Court has upheld justified
”time, place and manner” regulations which are narrowly
tailored to serve a significant governmental interest and
leave open ample alternative channels for communication of
the [**21] information See Wara' 491 U.S. at 791 . 109 S.
Ct. ar 2753. 105 L. Ed.Zd at 675. Laramie justifies the
ordinance as a means to achieve its significant interest in
maintaining clean streets. The United States Supreme Court
has stated that cities have a legitimate interest in clean
streets. See Sc/meider v. Stat€. 308 U.S. 147. 162, 60 S. Ct.

 

146§ 15/. 84 L. Ed. 155. 165, (1939); Martin, 319 U.S. at
143, 63 S. Ct. at 863, 87 L. Ed. at _~,

The Court specifically stated in Schneider that the guarantee
of freedom of speech or of the press does not ”deprive a
municipality of power to enact regulations against throwing
literature broadcast in the streets. Prohibition of such
conduct would not abridge the constitutional liberty since
such activity bears no necessary relationship to the freedom
to speak, write, print or distribute information or opinion.”
Sch`neider; 308 U.S. at 1611, 60 S. Ct. at 151, 84 L. Ed. at
165. Following the instructive advice of Schneider, this

[`**22 court "should be astute to examine the effect of
challenged legislation” in each case in which legislative
abridgment of the fundamental personal rights and liberties
of freedom of speech and freedom of the press is asserted

Mere legislative preferences or beliefs respecting
matters of public convenience may * * * be
insufficient to justify [regulation which] diminishes
the exercise of rights so vital to the maintenance of
democratic institutions And so, as cases arise, the
delicate and difficult task falls upon the courts to
weigh the circumstances and to appraise the
substantiality of the reasons advanced in support of
the regulation Of the free enjoyment of the rights

Schnez'der, 308 U.S. at 161. 60 S. Ct. at 151. 84 L. Ed. ar
1031

In Schneide); the distributors of literature on a public street
had been convicted by the city for littering. The Schneider
court’s analysis revealed the facts to indicate that although
the distributors were convicted of littering, it was actually
the persons receiving the literature who were throwing it
down on the streets. Under these facts, the Court explained
that ”any l**23_l burden imposed upon the [*60]| city
authorities in cleaning and caring for the streets as an
indirect consequence of such distribution results from the
constitutional protection of the freedom of speech and
press.” Sclmeide): 308 U.S. ar 162. 60 S. Ct. at 151. 84 L.
Ed. ar 165. (Emphasis added). But, the Court observed that
such constitutional protection does not deprive a city of all
power to prevent street littering and among the obvious
methods of preventing littering is to punish those who
actually throw papers on the street. Id.

In significant contrast to the facts of Schneider, an ordinance
which punished a citizen who merely handed a leaflet to a
passing pedestrian who in turn threw the leaflet on the
ground, the facts of the case before us present an ordinance
which punished a citizen who was found at trial to have

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880 P.2d 594, *601; 1994 Wyo. LEXIS 99, **23

actually thrown papers on ”driveways, yards, sidewalks, a
window well, the street, and a snow bank.” Thus, in my
view, this ordinance falls within that class of those ”obvious
methods of preventing littering” which the Court expressly
referred to as passing constitutional muster, namely, an
ordinance [**24] which punishes those who actually throw
papers on the ground. Clearly, the Laramie ordinance does
not punish the citizen who merely hands the paper to a
passing pedestrian; instead, it has punished only that citizen
who has thrown the paper on a driveway, yard, sidewalk, the

street, or snow bank7 or into a Window well. Under the facts
of this case, Mr. Miller was not punished when he threw the
paper on the residence porch or doorstep. lt is clear that the
ordinance reasonably regulates the manner of distribution
without reference to content, is serving a significant
governmental interest and leaves open ample alternative
channels for communication of the information l would
hold there has been no constitutional violation and affirm
the convictions

_. .a__-.._______._. …I _."_ . ..

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UN|TED STATES DlSTRlCT COURT
EASTERN DlSTRlCT OF M|CH!GAN
SOUTHERN DlVlSlON

CHRON¥C 2000 TOURFNG, lNC., et al,
Case NQ. 00-73066

Pleintiffs,
Honorab|e Patrid< J. Duggan
v. .
THE ClTY OF AUBURN HILLS. F l L E b
Defendant ' _ l ..‘Jll. 07 M

 

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WRW
ORDER GRANTING PREL|MINARY INJUNCTIQN
Upon the petition of Plaintiffs, the Court being advised in the premwes, and for the
reasons stated on the reoord, the Court hereby enjoins and restrains the City of Auburn Hills, its
agents, servants and employees, and those acting in concert with it, including the Palece of
Auburn Hilie, from interfean with the live production end performance of the video
accompanying the “Up i_n Smoke" concert at the i>alace of Auburn Hills on duly 7, 2000. This
order does not preclude Defendants from undertaking normal security functions

SO ORDERED.

 

` U S. District Judg§;a§;cg-Y' m the absence of
mg 91 m fudge

Dated: '

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UNITED S'I'ATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

CHRONIC 2001 TOURING, INC.,
and ANDRE YOLR~'£G a/}c/a Dr. Dre,

MCTION FOR PRELIMINARY INJUNCTION
BEFGR`E THE HONORABLE NANCY G. EDMUNDS
United States District Judge
226 Theodore Levin U.S. Courthouse

231 Lafayette Boulevard West:
Detroit, Michigan
JUL’I 7, 2000

APP <'.!ES:
MR.. HERSCI~UI.¢ P. FINK, ESQ.,
MS. CYNTHIA G. THOHAS, ESQ.
MR. LAWRENCE J. MURPH'Y, ESQ.
In.behalf of Plaintiffs.
MR. THOMAS ALLEN, ESQ.,

In behalf of Defendant.

<. _ -

Suzanne Jacques, Official Court Reporter
Phone : (313) 965-1338

 

Plaintiffs,
V . CIVIL ACTION
NO. 00-73066
CITY OF AUBURN HILLS,
a municipal corporation,
Defendant.

 

 

Chronic 2001, et al, v. City of`Auburn Hills 00-CV-73066

 

 

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Chronic 200.1, et al, v. City of Auburn Hills OO»CV-73066

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. 7/7/00 - Mbtion for Preliminary Injunction

1 Detroit, Michigan

2 only 7, 2000

3 4=40 p.rn.

4 _ __ ..

5 THE LAW CLERK: Court calls case number

6 00-'73066.

7 THE COURT: This is Chronic 2001 Touring,

8 Inc., and Andre Young, a/k/a Dr. Dre, versus City of Auburn
9 Hills.
10 Mr. Fink, I know you‘re representing the

11 plaintiff. Is it Mr. Allen?
12 MR. ALLEN: That’s correct, Your Honor,

13 Thomae Allen representing the defendant.
14 THE COURT: And your client isn‘t here yet?
15 MR. ALLBN: They‘re on their way.

16 THE COURT: All right, I‘m going to go

17 forward with this. I talked to you about an hour ago, and
18 that should be enough time for them to get here. I‘ll make
19 sure they know what their responsibilities are, depending
20 on how I rule.
21 I also had a ca11 from somebody representing
22 another interested party, the promotor. I don't know if it
23 was the Palace of Auburn Hills or somebody else, but I told
24 them we were going to go forward. Somebody at Dykema
25 Goesett.

 

 

 

chronic 2001, et a_t, v. city of Auburn Hills oo~cv~rzoee

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7/7/00 - Motion for Rreliminary Injunction

 

 

MR. FINK: Newe to me, Your Honor.

Herschel Fink- 1 am told that I represent the promoter as
well as the talent.

THE COURT: Well, I think maybe this was the
Palace.

MR. FIHK: lt could be, but I haven't heard.

THE COURT: Not the actual promotor. In any
event, go ahead.

MR. FINK: Thank you, Your Honor. If I may, I
brought two of my colleagues with me who have been involved
in this caee. I need some help on some of the questions
you may have. Larry Murphy, one of my partners who was
involved yesterday with the controversy in the City of
Detroit and was at the show last night, and Cynthia Thomas,
who prepared the brief that you have, in rather short
order, and is very familiar with the legal issues.

And Ms. Thomas asked me to specifically mention
to please excuse the casual attire. This is the risk of
the so~called casual days that law firms have. Sometimee
there are emergencies.

Your Honor, I'll be brie£. What we're dealing
with here is a classic prior reetraint. It's a restraint
on speech and on protected expression, and it comes to this
court, as the United States Supreme Court has eaid, with a

heavy presumption against its validity, and indeed, the

 

Chronic 2001, et al, va City of Auburn Hills OO~CV>73066

 

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7/7/00 - Motion for Preliminary Injunction

 

 

onus is upon the city to justify such an extraordinary
relief.

In talking to Mr. Allen before, he said to me,
well, this isn't a prior restraint, we intend to let the
show go on, but if we see that they violate the law, we‘ll
stop the show and shut it down. I said, well, gosh, that
meets my definition of a prior restraint. So I think maybe
the city doesn't understand what the constitution requires.

The content of this show and the video that
apparently is shown in the course of it is really not at
issue. If the city finds something that they believe
violates the law, it's obscene, I'm told there isn't any
obscene content in the sense of pornography. It's violent.
I don‘t know that there’s a law against violence, but if
they find that there's some violation of law, then the
appropriate way to deal with it is to ticket, to go into
court on Monday and get a complaint against the promoters
and Dr. Dre, I don‘t know where his PhD is from, but I'm
sure these folks are answerable.

There's no question about being able to pursue
a criminal case if there is one, and we'll meet that, but
the essence of a prior restraint, the essence of the First
Amendment is the right to be free of prior restraints.
There Could be punishment after the fact if the law is

violated. but the show must go on.

 

Chronic 2001, et al, v. City of Auburn Hills DO»CV-73066

 

 

 

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. 7/7/Q0 - Mbtion for Preliminary Injunction

1 No ~-

2 THE COURT: Well, let's focus just momentarily
3 on the only plausible argument that they might have here,

4 and that this is an incitement to violence and therefore

5 runs afoul of the --

6 MR. FINK: Brandenburg.

7 THE COURT: -- Brandenburg exception.

8 MR. FINK: Well, they haven't seen the video.

9 What I understand, Your Honor, and Mr. Allen may be able to
10 address this, is that police officers in the City of Auburn
11 Hills came to the Palace this morning, said they had been
12 contacted by the City of Detroit police, and that they were
13 told there was, there could be problems, and, and that

14 Auburn Hills then demanded that this video not be shown, as
15 happened last night in Detroit.

16 There was a good reason why the talent, the
17 artist in this case decided not to perform the video, and
18 that was that the police in Detroit, including the mayor‘s
19 representative, Greg Bowens, the mayor‘s press secretary
20 who was present at Joe Lewis, threatened to actually stop
21 the show in mid show, pull the plug, turn on the lights at
22 Joe Louis Arena with like 10,000 kids, well, not kids, but
23 persons, some of whom Would be young adults, and Dr. Dre
24 did not want to take the risk of what the reaction might be
25 to the police action, and he decided voluntarily to pull

 

 

 

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7
` 7/7/00 ~ Motion for Preliminary Injunction
1 it.
2 But we aren't even close to a Brandenburg
3 situation. This is shown in 12 venues with the video.
4 There‘s never been a problem. It‘s shown in major cities,
5 it's shown in smaller cities. There's never been a
5 problem.
7 The Brandenburg test, as the court may know,
8 and as our brief spells out, requires imminent incitement.
9 It's a very difficult test. In fact, even the showing of
10 violence, violence that might be inspired, and I'm not
ll conceding that it would, but violence that could 1
12 conceivably be inspired is not covered. It has to be an
13 imminent incitement that something they said, something is
14 shown, something is done that calls for immediate action of
15 violence, immediate violence. It's not even enough to say
16 I want you tomorrow to go out and shoot a police officer.
17 I should quickly add there's nothing to do with shooting
18 police officers in this video, but something where someone
19 says tomorrow you should do something is not, does not fall
20 within Brandenhurg.
21 This isn’t a close case. It doesn't come
22 anywhere near the Brandenburg test. We‘ve just been
23 briefing that in doing a brief for Warner Brothers in the
24 denny Jones case, which if you may recall Was the shooting
25 of Mr. Amador in the Jenny donee case, so we just looked at

 

 

 

 

Chronic 2001, et al, v. City of'Aubnrn Hills OO-CV~730€6

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7/7/00 - Motion for Preliminary Injunction

 

 

the Brandenburg test which is part of the argument we're
making to the Court of Appeals. But it doesn}t come close,
and I‘m interested in how the city would justify that this
meets the Brandenburg test.

But you‘re exactly right, Your Honor, that‘s
the only possible argument that could be made here would be
make a convincing showing to you that there is, in this
show, imminent incitement to violence, that, but for police
action, would happen, and there can‘t be a showing of that,
There isn't anything close to it.

Now, if I may, and I don‘t want to beat a dead
horse, but there is no difference here. This show is
protected expression. lt is no different *~ I was just
saying to Emery King from Channel 4, who was here a little
while ago, it's no different if you have a graphic piece of
video showing a security -- let's say, that you get from a
security camera, or something like that, and the police
come into your news room and say give us that tape, or if
you put that tape on we‘re going to walk onto your set and
we‘re going to arrest Carmen Harlen. It‘s the same thing
if the police walk into HBO and say if you‘re going to show
the Sopranos episode that shows Tony offing some mystery
man, we're going to arrest everybody and pull the plug on
the show. It‘s no different if the Free Press is going to

publish some account of a violent crime that might cause

 

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7/7/00 ~ Motion for Preliminary Injunction

 

 

rioting in the mind of the police.

THE COURT: Is there any even arguable
difference in the news piece, in the prior restraint
content, between a piece of news reporting and a piece of
entertainment?

lMR. FINK: No.

THE COURT: And what do you rely on for that?

MR. FINK: I’ve given the court a couple of
authorities dealing with motion pictures, violent motion
picturee.

THE COURT: Boyz ‘n the Hood.

MR. FINK: The Boyz 'n the Hood ease ia One.

THE COURT: The Warriors.

MR. FINK: The Warriore was the other.

But the courts make no dietinction, Your Honor,
in First Amendment area between entertainment, it's
protected expression, and newe, and I know of no case ~- I
would represent to the Court that I know of no case that
has made such a distinction and found that a prior
restraint is okay against entertainment, but not against
newe. It's the same principle.

The Blue Ovel case that you had, Your Honor, is
not exactly breaking news, but I think that maybe that's a
little closer to our eituation, but that was not anymore

protected than Dr. Dre's video or a news piece. I think

 

Chronic ZOOl, et al, v. City of Auburn Hills OO»CV-73065

 

 

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7/7/00 ~ Motion for Fweliminary Injunction

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the same principle applies.

THE COURT: Adl right. Let me hear from
Mr..Allen.

MR. FINK: Oh, I'm sorry, I believe that there
was a Sixth Circuit case that's in our brief. It was Judge
Hackett‘s case involving a talk show that ~» can you help
me? l know it's in our brief. It's the King »»

MS. THOMAS: King World.

MR. FINK: King World case which is a Sixth
Circuit case where Judge Hackett was reversed by the Sixth
Circuit on a prior restraint, and I believe it was a talk
show. Same principle, I believe, Your Honor.

THE COURT; Okay. Thank you.

MR. FINK: Thank you. And we appreciate Your
Honor hearing us on such short notice, but the show is
close to starting, in less than two hours.

MR. ALLEN: Three hours.

THE COURT: Mr. Allen.

MR. ALLEN: Yes, Your Honor, Thomas Allen on
behalf of defendants.

THE COURT: 1 see that your clients are here
now.

MR. ALLEN: They are here, and as I told you,
it would take some time to get from Auburn Hills to get

down here.

 

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7/7/00 ~ Motion for Preliminary Injunction

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THE COURT: I understand.

MR. ALLEN: First of all, in bringing this,
filing this complaint and bringing this motion, the
plaintiffs are making a couple of assumptions and
assertions to the court which aren't correct.

First of all, contrary to what they claimed in
their pleadings, the defendant never demanded that the
video not air, and threaten to arrest if it did air.
That's not the fact situation we're dealing with here.

And the other point is that our main concern
was not so much the violence that is clearly, we think,
depicted in here, based on what we're told, but also the
pornography and nudity that's in the videotape.

And another point I'd like to bring out ~~

THE COURT: What makes you think there's any
pornography and nudity here?

MR. ALLEN: Well, we've been told.

THE COURT: Have you seen it?

MR. ALLEN: No, and it‘s a very good question
to ask, and the answer I think is telling to what we're
here for.

We asked twice earlier today to see the video,
asked them to let us see it, and see if maybe there's
nothing that violates our ordinance in here. They didn't

allow us to do that, We said we'd like to see it, and if

 

Chronic 2001, et al, v. City of Auburn Hills OO~CVLFSOEE

 

 

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l 7/7/00 ~ Mbtion for Preliminary Injunction
1 we think there‘s something that violates our ordinance then
2 we can edit the parts, and the show can go on
3 uninterrupted.
4 THE COURT: What makes you think you could
5 edit the video?
6 MR. ALLEN: Well, We're trying to work with
7 them in order to avoid.a prior restraint, as they are.
8 More importantly, from the point of the city, of tax payers
9 of the City of Auburn Hills, to try to avoid a violation of
10 our order.
ll The city has a constitutional obligation to
12 enforce its laws and also to prevent the violation of its
13 laws. We had information that this video would violate the
14 ordinance, and we‘re not here to challenge that ordinance.
15 They don‘t question the ordinanoe. That ordinance clearly
16 covers speech and conduct which is not protected.
17 THE COURT: That's not the Way you -~ you
18 can't impose a prior restraint.
19 MR. ALLEN: We weren‘t trying to impose --
20 THE COURI: Excuse me. You oan‘t look at
21 something and decide ahead of time whether it can be
22 published or not published. You‘re not permitted to do
23 that anymore than a newspaper can he oensured ahead of
24 time. Since when can a government agency look at a
25 newspaper or any medium of expression and decide whether or

 

 

 

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l not the content of an article or a TV show or anything else

2 meets the standard that they think is appropriate? Isn't

3 that classic censorship and prior restraint?

4 MR. ALLEN: NO.

5 THE COURT: YeS.

6 MR. ALLEN: No, I don't agree at all. The

7 issue, as I said before, is not the validity or the

8 constitutionality of our ordinance. They don't challenge

9 that at all. The ordinance which has been around since
10 1981 governs or regulates speech or conduct which is not
11 protected.
12 THE COURT: Mr. Allen, Mr. Allen, can you give
13 me any authority whatsoever which gives any governmental
14 entity the right to prescreen, certainly not news, or
15 whether it's television news or written news, and/or even
416 any entertainment venue? I mean, what gives the government
17 entity a right to impose that kind of censorship, in the
18 United States I'm talking about?
19 MR. ALLEN: Well, it's only censorship if the
20 speech or the conduct is protected, which we don't believe
21 in this case it is.
22 I think a better question, and I'll answer your
23 inquiry, but a better question is why would they not work
24 with us in letting us at least look at it? We could be
25 arguing over nothing. But they refused to at least let us

 

 

 

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see the tape to try to work with them.

And l also appreciate, in a cynical way,
counsel using representations, statements I allegedly made
to him to try to negotiate as part of his argument. What
this problem is all about is a big publicity stunt to try
to attract more attention to the tour.

What’s more important from my client*s point of
view is that the point you touched upon earlier is a good
one. This isn‘t news. This isn't anything but pure
profit-driven entertainment, and if you look at the
standards for issuing the type of injunctive relief that
they ask for, I don't think they can satisfy any of them.

THE COURT: Well, do you have any case that
suggests that there’s any distinction between news
reporting and any other kind of speech? 1 mean, when the
KK'_I<_..

MR. ALLEN: I got ~~

THE COURT: Excuee me.

When the KKK gives a speech inciting people to
racial bigotry, that's not news either. That's just
propaganda.

MR. ALLEN: Well *~

THE COURT: But it's not ~~ there aren't prior
restraints issued against that kind of speech, at least

none that I'm aware of.

 

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MR. ALLEN: Okay. To the KKK, they probably
don't look at that as propaganda, and they're also not
doing it to make mpney. They're not charging fees or
selling tickets. There'e a big difference, I think, and
that type of political speech clearly deserves much more
scrutiny and attention and protection, but you're not
talking about that here. What we're talking about is a
trailer, a video trailer to start off a musical
performance.

The etandard, the elements that they cite that
don't even attempt to address, the first one is whether
there‘s a strong or substantial likelihood of success on
the merits. Well, the merits in this case are whether or
not our ordinance, assuming that there's sonething in this
tape that violates it, is unenforceable or
unconstitutional. They‘ve not even addreeeed that isaue.
They don't even argue that.

The next standard is whether the movant will
suffer irreparable harm. How in the World can these
promoters and these musicians suffer any irreparable harm
or any real harm if we are allowed to enforce our
ordinance, if this tape happens to Violate part of it?
This isn’t political speech. This is entertainment.

The tickets have already been sold. As counsel

indicates, the show is supposed to start in a few hours.

 

 

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1 Nobody is going to all of a sudden demand a refund or walk
2 away without buying a tape because this tape, if it happens
3 to violate our ordinance, is not allowed to be shown in
4 whole or in part. So there's no harm.
5 The next element of the standard that has to be
6 met by the movant is whether the issuance of the
7 restraining order would cause substantial harm to others.
8 well, I don't think they can come close on that. The
9 others in this case would be the kids, the minore, the
10 other people in the audience, and the citizens of Auburn
11 Hills who have this ordinance and expect it to be enforced.
12 The last element is whether the public interest
13 would be served by issuing the order of restraint- What
14 public interest here? This isn't political speech. This
15 is pure entertainment.
16 And back to the main point, we aren’t saying --
17 we never said the approach, contrary to what they premise
18 this whole thing on, that you can‘t show any of this tape.
19 All we’re saying is that we have an ordinance, the
20 ordinance is enforceable, there's no question about that,
21 and we want to be able to have the right to be able to
22 enforce it. And if we‘re at that show tonight and they
23 show that videotape and we determine, as is our province in
24 enforcing the laws of our jurisdiction, that that tape or
25 any other part of the show for that matter, or anything

 

 

 

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else that goes on that night violates our ordinances, then
we're going to enforce our ordinance. And I don’t see

how -~ the relief they seek doesn't even address what the
real issue is.

THB COURT: All right. Thank you, Mr. Allen.

MR. ALLEN: Then we should have no reason to
interfere with ~~

THE COURT: Thank you.

MR. ALLEN: And I don‘t think --

THE: coURT: Thank you.

Ms. Artinian.

MS. ARTINIAN: Thank.you, Your Honor.
Apologize that I‘m here casually dressed today. Susan
Artinian appearing on behalf of the Palace. I know that
we're not a party here. We stand here in support of the
City of Auburn Hills. You and I know well the standards
for injunctive relief, and this might be one of those rare
cases, Your Honor, where the public good factor takes
precedence.

I don't have to tell you that there‘e no
irreparable harm that would be imposed by the court denying
their request, but we are here in support of the city. We
would ask the court to allow the mutual viewing of the
proposed videos. As the court is well aware, tickets were

sold without any attention being paid to the age of the

 

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purchasers, and we have children that the city and the
Palace would like to protect. Thank you very much,

THE COURT: All right, Everyone seems to
agree on what the standards for preliminary injunction are.
Although this came to me as kind of a last minute -- not
kind of a last minute, a very last minute injunctive
hearing, really more in the nature of a TRO, I think it's
appropriate to talk about the standards for preliminary
injunction; whether the movant has shown a~strong or
substantial likelihood of success on the merits, whether
the movant has demonstrated irreparable injury, whether the
issuance of a preliminary injunction would cause
substantial harm to others, and whether the public interest
is served by the issuance of an injunction.

I think there is no way around focusing here on
the first element as the controlling element in this
matter, whether the movant has shown a strong or
substantial likelihood of success on the merits.

This is, without question, an issue of prior
restraint, and I am very familiar with the law of prior
restraints, having recently dealt with that issue in the
case of Ford Motor Company versus Lane, in which this court
refused to enjoin the defendant from posting Ford‘s trade
secrets on defendant's web site.

There is no question but that the refusal to

 

 

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issue prior restraints ~~ to sanction prior restraints is
the bedrock upon which the First Amendment rests. The
publication, in the absence of prior restraint, has been
held to trump security interests of the United States, in
the Pentagon Papers case, interests of national security;
issues of fair trial, and criminal »- the rights of the
criminal defendant in Nebraska Press Association versus
Stewart; to trump the right to protect one's business
reputation in In re King World Productions, in which a
prior restraint was reversed, and the Sixth Circuit has
written a comprehensive and scathing indictment of prior
restraints in Proctor and Gamble Company versus Banker‘s
Trust, 78 F3d 219.

I am not aware of any case which distinguishes
between the prior restraint issued against a news story and
an entertainment interest, or entertainment etory. I
looked, I couldn't find any, and in researching the issue
for the Ford case, I couldn‘t find any either. That is,
whether or not the person is a journalist as opposed to an
entertainer doesn‘t seem to have ever been made an issue in
the law.

I think the heart of this matter is whether
there is any basis for censoring this videotape on the
basis that it is not protected speech, and the only

possible basis on which it could not be protected speech is

 

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l if it violates the sanction of Brandenburg versus Ohio.

2 That's 395 U.S. 444. Brandenburg is the case in which the
3 Supreme Court held that violent speech uses its protection
4 that the speech is directed to inciting or producing

5 imminent lawless action and is likely to initiate or

6 produce such action.

7 That's a 1969 case, and that was elaborated

8 upon in Hess versus Indiana, 414 U.S. 105, a 1993 case in

9 which the court clarified that the speech could not be

10 punished by the state on the ground that it had a tendency.
11 to lead to violence unless it was clear that the speech was
12 intended to produce and likely to produce imminent

13 disorder.

14 A more important United States Supreme Court

15 case is Texas versus Johnson, a 1989 case which held that
16 even speech to which a listener is likely to take serious
17 offense is not actionable unless Brandenburg's intent and
18 imminent incitement test is met.

19 In the most recent Sixth Circuit pronouncement,
20 Michigan Protection and Advocacy Services versus Babin,
21 affirmed by the Sixth Circuit at 18 F-Bd 337 in 1991, the
22 court held that under Brandenburg it is not enough to
23 allege that speech is intended to incite and encourage
24 violation of the law because only speech that robs the
25 listener of rational thought by demanding immediate action

 

 

 

 

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may be punished.

I believe that this case does not fall within
the Brandenburg exception to protected speech. That
exception is narrowly limited to exceptional situations
where a speaker directly and unequivocally urges listeners
to commit immediate violence or other imminent unlawful
action under circumstances where such resultant imminent
violence is likely because there is no time for rational
reflection on the part of listeners, and no time for the
government to take steps to keep the peace. Absent such
rare, exigent circumstances, the responsibility and only
right of government is to punish those who would commit
criminal acts, not the speaker whose words allegedly
inspired them.

In the specific context of an entertainment
venue, I think it‘s important to look at Lewis versus
Columhia Pictures lndustries, a California case reported at
23 Media Law Reporter 1052 in which the court held that the
promotion trailer for the movie Boyz ’n the Hood was
protected by the First Amendment since speech directed to
action at some indefinite time in the future is not
imminent action; also, to Yacubowicz versus Paramount
Pictures Corporation, 536 N.E.Zd 1067, a Massachnsetts case
holding that the First Amendment protects the gang film The

Warriors because the film does not constitute imminent

 

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1 incitement, even if rife with violent scenes.

2 l accept the plaintiff's representation that

3 this video has been shown at other locations on a number of
4 different occasions without incident. Certainly, the City
5 of Auburn Hills is entitled to have and should have

6 security people present during this concert able to deal

7 with any disruption that might occur, should such

8 disruption occur, but a prior restraint is not appropriate.
9 It's nothing but, it‘s nothing but the most
10 blatant violation of the First Amendment, and it is clear
ll that the plaintiffs prevail on whether they have shown a
12 strong or substantial likelihood of success on the merits.
13 The other factors, I don't believe they've made
14 a particularly strong showing on. I don't believe there's
15 irreparable injury, except to the extent that the First
16 Amendment is a bedrock constitutional right, and to the
17 extent that we permit incursions into the First Amendment
18 in this instance, every erosion is a step in the wrong
19 direction.
20 This is a free speech issue, and there is
21 nothing to establish that this speech is not protected
22 speech, so l don't believe that Eminem and Dr. Dre and the
23 other, or Chronic 2001 Touring, Inc. is likely to suffer
24 irreparable financial harm, but I believe the
25 constitutional issue here is an inviolable and

 

 

 

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l irreparable ~- that‘s not the right word, an inviolable

2 principle, and that erosion of those principles doee, in a
3 very fundamental democratic sense, cause irreparable harm.
4 And that analysis would hold with respect to

5 the third and fourth factors, as well. The harm that I‘m

6 looking at is not the immediate harm to the promoters of

7 the concert. I'm not particularly concerned about their

8 financial well being here. What I am concerned about is

9 that we not permit censorships and prior restraint in the
10 absence of acme showing, and certainly, this video having
11 been shown a number of times in the past without incident,
12 would contradict any such showing that this is not

13 protected epeech.

14 So I'm issuing a preliminary injunction against
15 the, any prior restraint with respect to thie, to the

15 showing of this video. I am ordering the City of Auburn

17 Hills and the Palace, to the extent that they‘ve made an

18 appearance here, to permit this video to go forward and not
19 to interfere with the production of this video in any way.
20 Any security or law enforcement measures that need to be

21 taken should be taken against any concert participant who
22 sees fit to behave in an inappropriate mannerl not against
23 the production of the video.

24 MR. ALLEN: Your Honor, you're not ruling that
25 the content of the video is protected speech, you're just

 

 

 

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ruling that we can*t enforce our ordinance should we deem
it to he violated, until after the showing of the video?

THE COURTL I'm telling you that you can‘t
sensor or restrain the showing of this video in any way.
Do you understand that?

MR. ALLEN: Right.

THE COURT: Okay. Everyone from Auburn Hills
understand that?

UNIDENTIPZED SPEAKER: Yes.

MR. ALLEN: A question. ¥our ruling did not
address our main objection which was purely the obscene -~

THE COURT: There's nothing that I have heard
or seen that suggests that there is anything obscene. Do
you have any knowledge to the contrary, anyone who has seen
it, who has told you that there’s pornography or obscene
material in it?

MR. ALLEN: Yes.

THE COURT: Yes what?

MR. ALLEN: The City of Detroit Police
Department.

THE COURT: They didn‘t see it.

MR. ALLEN: Yes, they did.

THE COURT: They did not.

MR. ALLEN: At least I was informed by the

City of Detroit that they have seen it, and they informed

 

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us of that, and our objection was never about the violence,
which is what this whole thing seems to be about, so it
doesn‘t really apply to our attempts to enforce the
ordinanoe.

THE COURT: Well, nudity is not pornography.
If it is, then anybody who watches HBO on a Sunday night at
9:00 is watching it also.

` MR. ALLEN: Again, no one has addressed the
substance of the ordinance, and I'm sure the ordinance
would be upheld in light of the Supreme Court decision in
the very recent s-

THE COURT: I'm talking about a prior
restraint and censorships, and you can't interfere with the
showing of this video.

MR. ALLEE: Okay.

THE COURT: Is that clear?

MR. ALLEN: Because of the Brandenburg
ruling »» I understand, but I just don't think anyone has
ever addressed our main concern about this video.

THE COURT: Well, first of all, you haven't
seen it. Mr. Fink, is there anything pornographic in this
video?

MR. FINK: Well, my understanding is that
there are a couple of nudity scenes. I believe ~~ I was

told, and I haven*t seen this, Your Honor, two naked women,

 

 

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1 I believe, but our brief also addresses the issue of

2 pornog ~- quote, unquote, pornography.

3 Again, hopefully, I would have said the city

4 knows how, but now I‘m not so sure, but we’ll hope that the
5 city knows what to charge and how to charger and we'll deal
6 with that at a future time. But Mr. Allen‘s threat to me,
7 or statement to me -~ it wasn‘t Mr. Allen's threat, but it
B was that the city intended to stop the show if it saw a

9 violation of the law, and that's what we're here about. If
10 he thinks he's got a violation of his ordinance, I'll meet
11 him in another court and we'll deal with that, but he can't
12 stop the performanca, and that's what Your Honor has held.
13 THE COURT: That's correct, and with respect
14 to the issue of pornography, that has been held just as

15 invalid as the Brandenburg rationale with respect to prior
16 restraints in City of Cadillac versus Cadillac News &

17 Video, 221 Michigan Appeals 645; Fort Wayne Books,

18 Incorporated versus Indiana, 489 U.S. 46.
19 And, as I said, a couple of instances of nude
20 women in a concert video is hardly pornographic. I mean,
21 it may not be ~~ it may not be the most appealing picture
22 for a young person to see, but it's there to see on any
23 cable TV station and prime time for anyone who has a TV
24 set, 30 --
25 MR. ALLEN: Right, but that's in the context

 

 

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1 of someone's home, and the point on this --

2 THE COURT: I've ruled, Mr. Allen.

3 MR. ALLEN: There's going to be women and

4 children »~

5 THE COURI: You are not, you are not going to
6 stop this video. You are not going to stop it.

7 NR.. ALLEN: And if »-

8 THE COURT: And if you don't understand that,
9 you know, we'll stay here until you do.

10 MR. ALLEN: I just -“ that's what I‘m trying
11 to do, because we have the clients here at your request,

12 and they're going to hear everything real time, so we can't
13 stop this video regardless of its content, and if we find
14 something violative about it in terms of our city

15 ordinances, our remedy is to charge the perpetrators after
16 the fact?

17 THE COURT: That's correct,

18 MR. ALLEN: The cat will be out of the bag, so
19 to speak.
20 THE COURT: That's oorrect.
21 MR. ALLEN: But in terms of our other
22 ordinancee, we're entitled to enforce those, aren't we?
23 THE COURT: Well, I don't know what ordinances
24 you have in mind. If they involve prior restraint, then
25 I‘d have to say no.

 

 

 

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MR..ALLEN: I‘m talking about a lot of other
different things.

THE COURT: well, what are you talking about?

MR..ALLEN: People get violent in the crowd.

THE COURT: Well, ohviously, you have the
right and obligation to keep order within the crowd if
people are getting violent.

MR. ALLEN: Okay; I just want to make sure we
all understan -~

(Mr. Allen has brief discussion off

the record with client.)

MR. ALLEN: The question was what if we have
to stop the show to keep order, but that would be a
completely different ~-

THE COURT: You do not stop the show to keep
order. You do not stop the show.

MR. ALLEN: Under no circumstances?

THE COURT: I cannot imagine any circumstance
in which you would stop the show.

MR..ALLEN: What if a riot breaks out? It's
been known to happen.

THE COURT: Well, then, you address the
rioters, not the speakers.

MR. ALLEN: And if in the determination of the

police they feel the best way to address the riot would be

 

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to stop the performance?

THE COURT: I'm not going to try to second
guess this. I have already ruled that you may not restrain
the showing of this video. Use whatever judgment you need
to use to enforce order at this concert, but if it‘a a
matter of prior restraint, then you‘re going to be in
contempt of this order.

MR. ALLEN: And would the order be reduced to
writing?

THE COURT: For the reasons stated on the
reoord.

MR. ALLEN: Okay.

MR. FINK: Your Honor, I did give your clerk a
proposed order. I don't know if it was given to you.

MR. ALLEN: I would object.

THE COURT: He did, but that's kind of a broad
statement, and 1 think I've made myself as clear as I can
make myself.

MR. FINK: Oh, you definitely have, but I'm
just wondering in light of the going on and on whether we
might not have some kind of an order.

THE COURT: I‘ll try and get something out in
writing in the next half hour or so.

MR. FINK: Thank you, Your Honor, appreciate

it.

 

 

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(Proceedings concluded 5:15 p.m.)

 

 

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CERTIFIQATE OF COURT REPORTER

I certify that the foregoing is a correct transcript

from reported proceedings in the above-entitled matter.

Z~/D~OQ
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Official urt Reporter
Eaetern District of Michigan

 

 

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UNITED STATES DISTRICT COURT
FOR THE EA'STERN DISTRICT OF MICI‘{IGAN
SOUTHERN DIVISICN
ANDRE YOUNG a/k/E DR. DRE go
an individual california resideni;, and %e; B§U Z§ §§
CHRONIC 2001 TOURING, INC., 3
Caiifomla corporation, me No_
Pla§ntiff$, |~!gn_
VS_ net ",r »~A¢§Q§, &
THE CUY OF DETROIT, --_--»-~-»_»_-~_.~m .. _,
a Mlchigan municipal oorporat%on,
GREG BOWENS, GARY BROWN and

MARVIN WINKLER, in their individual capacities
Defendant$. ' .;-" l

HGNIGMAN MILU.-'R SC.HWAR?Z AND COHN
Atwrneys for Plaintlffs
By: Herschel P. Fink (P13427)
Cynthia G. Thomas(P43501) ~ ' .. r.
Lawrence J. Murphy (P47129)
2290 First National Bulldlng
Detroit Mlchigan 48226
Phone: (313) 465-7400

KING, PURTIGJ, HOLME$, PATERNO & BERLINER, LLP
Co~Counse§ for Plaintiffs

By: Howard E. King

900 Avenue of the Stars

Twenty-l-'ifth Floor

Los Angeles, CA 90067

Phone: (310) 282-8989

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Piaintiffs Andre Youn§ a/k/a Dr. Dre and Chronic 2001 `i°ouring, Inc.
(“Piaintiffs"), by their attorneys Honignian Miller Schwarlz and Coiiri, for their
Cornplaint against Defendanis, staw: '

RI 0 E P
1. This is an action to redress the deprivation by the Defendanw of rights

secured to-thei!lainti&s_by.the£onstimtioo.and laws_of.the.Unimd,States.._ ._._._..~ .__ .

2. Piaintiff Andre Young a/k/a Dr. Dre (“Dr. Dre”) is an individual who
resides in the State of Califomia.

3. Plaintin‘ Chronic 2001 Touring, Inc. is a Califomia corporann with its
principal place of business in Los Angelas, Caiifomia.

4. Defendant The City of Detroit (“the City") is a Mlci'ilgan municipal
corporation located in Detroit, Micnigan, Wayne County.

5. DefendantGregBowens(“Bowens")isatopaidetoandtheptms
secretary to the Mayor of the City of Detroit, and is an individual who resides in Detrolt,
Miciiigan. During ali times mentioned in the Compiaint, Bowens was acting in his
oniciai capadty. He is sued, however, only in individual capacity.

6. Defendant Gary Brown (“Browo") holds the rank of Commam with the
Detroit Police Department, and is an individual who resides in Detroit, Michigan.
During ali times mentioned in the Complalnt, Brown was acting in his omcial capacity.
He is sued, however, only in his individual capacity.

 

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7. Defemant Marvin Wlnkler ("Winkler") is the Assist&i'it Chief of Poiice with
the Detroit Police Department and is an individual who resides in Detroit, Michigan.
During ali times mentioned, Winkier was acting in his official capadty. He is suw,
however, only in his individual capacity.

8. Thisactio¥iarises under the Hrsl: Amendmenttothel.lnimd States

M* Coj:sh:tudw and the civil rights iaws of the United States, 42 U.S. C. § 1983.

9. 3urisdiction of this court is invoked under the provisions of Sections 1331,
1343(3) and 1367(3) of `l'itie 28 of the United States Code and §§ 1983 and 1988 of
'i'itle 42 ofthe Unwd States Code.

10. Pursuant to 28 U.S.C. § 1391, venue is proper in this Court because
Defendant is a municipai corporation locamd in this District.

§EH.§.BALA.LLE§&IIQN§

11. Piaintiffs incorporate paragraphs 1 through 10, above.

12. At ail Mevant times, Piaintiffs have been engaged in the production and
performance ofa major national concert tour known as "’The Up in Smoke Tour" (“the
Tour”). The Tour consists of the performances of several top rap music artists,
inducing Dr. Dre, Snoop Dogg, and loe Cube.

13. The perforrnanoes, including die music perfomied, the non~musical
performances and the exhibition of film or video as a part of die performances dear|y

constitute expressive activity protected by the First Amendment to the Unimd States

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14. On the evening of Thursday, July 6, 2000, the Tour held a scheduled
performance at the Joe l.ouis Arena in Detroit, Michigan (“Arena".). The Tour had
piayed in ten cities across the United States as weil as in Toronlio, Ontario without
incident before coming to Detrolt.

15. The performance included a short movie approximately eight minutes in
ranger (“The video"), whim is an*iniagrai parr of Piainufrs perfome
dwgned and created to be the introduction leading into the Tour's headline joint
permrmance by Dr. Dre and Snoop Dogg. The irrdeo clearly constitutes expression
pmm bythel=irstAmendmenttiodie United StatesCOnStltLiliOn.

16. Lai:e in the afternoon of 'i'hursday, July 6, 2000, an agent of the City
appeared at the Arena and demanded to review the video in her official capacity as an
agent of the City.

17. Just hours before the performance at approximately 5:00 p.rn., the City,
by the Defendants and others, accompanied by a significant number of armed
members of the Detroit Police Department (both uniformed and plaindotlies),
appeared at the Arena and demanded that a video aiiegedly containing nudity and/or
violence (the ‘*Video") riot be played during the performance

18. Bowens, a close aide to and the press-secretary to Dennis W. Archer, the

Mayor of the City of Detroit (’rhe “Mayor"), represented to Tour personnel and

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representativesthathewas actingwithfull knowiedgeandauthorityoftheivlayor.
Bowens demanded that the Video not be played during the performance under penalty
of arrest Bowens stated that the Vrdeo “wasn‘t appropriate" for the City and that
showing the Video would violate “state laws." However, when Williarn Silva {“Silva”), a
promoter for the Tour, prest for citations to these alleged laws, Bowens bluntly
replied: “¥ou don't get it, this is my modrerfucl<lng city and you're going to do it [the

 

perfon'nance} my momenucking way." Bowens mdad: “Dr. Dre was arresmcl last time
he toured here fin Deh'oit}, 50 he'll know we’re serious."

19. Some time thereafter, an as-yet-unidentilied female agent of the City
accompanying Bowens, stated that showing the Video would aimedly violate “M.C.L.
750.145 {contributing to the neglect or delinun of children] and M.C.L. 750.143
[exhibitlon of obscene material in view of children]."

20. Neither the th, the Police Department nor the Defendants had any court
order to support their position that these slander had any application to showing the
V:deo inside the Arena or that they had any audiority to demand die Vicleo not be
played upon direat of arrest

21. The actions of Defendanls were clearly an unlawful prior restraint of
expression and a violation of Plalntiffs' rights under the Frrst Amendment and the
Fourteenth Amendment of the United States Constitution.

22. Commander Gary Brown of the Detroit Police Department, who

